         Case 2:19-cv-01944-JTM-DPC Document 23 Filed 06/18/20 Page 1 of 1




MINUTE ENTRY
CURRAULT, M.J.
JUNE 18, 2020

                               UNITED STATES DISTRICT COURT

                              EASTERN DISTRICT OF LOUISIANA

D’ANDREA WINCHESTER                                                   CIVIL ACTION

VERSUS                                                                NO. 19-1944

LOUISIANA STATE                                                       SECTION “H” (2)


          A settlement conference was conducted on this date before the undersigned magistrate

judge. After discussions, a settlement was reached and recorded by a court reporter. By copy of

this minute entry, Judge Milazzo is advised so that she may enter an appropriate conditional

dismissal order.

          The court reporter is hereby directed to hold the notes of the settlement agreement reached

and recorded in open court on this date in the above-captioned case for further use. In light of the

parties’ confidentiality agreement, the notes may not be released, and no transcript of the

settlement proceedings shall be made, except upon motion noticed to all parties and order of the

court.

                                      18th day June, 2020.
         New Orleans, Louisiana, this ______



                                                       ____________________________________
                                                           DONNA PHILLIPS CURRAULT
                                                        UNITED STATES MAGISTRATE JUDGE
CLERK TO NOTIFY:
HON. JANE TRICHE MILAZZO
JODI SIMCOX, COURT REPORTER



MJSTAR: 1:58
